            Case 3:21-cv-00198-SM-RLB          Document 555         01/17/24 Page 1 of 2




SHARON LEWIS                                                   Civil Action No: 21-198-SM-RLB

Plaintiff

V.                                                             JUDGE SUSIE MORGAN

BOARD OF SUPERVISORS OF LOUISIANA                              MAGISTRATE JUDGE RICHARD
STATE UNIVERSITY AND                                           L. BOURGEOIS
AGRICULTURAL AND MECHANICAL
COLLEGE,
Defendant

              RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW
                    OR, IN THE ALTERNATIVE, A NEW TRIAL


         NOW INTO COURT, through undersigned counsel, come Plaintiff , Sharon Lewis, and

files her Renewed Motion for a Judgment as a Matter of Law or, in the Alternative, for a New

Trial, as to Plaintiff’s claims submitted to the jury in accordance with Fed. R. Civ. P. 50(b) and

59(b).

         Moving Plaintiff is entitled to a judgment as a matter of law, as the jury lacked a legally

sufficient evidentiary basis for find for the Defendant and dismiss Plaintiff’s Title IX and Title

VII claims. In the alternative, this Court should order a new trial in this matter, as the verdict is

against the weight of the evidence, and Scott Woodward made impermissible communications

with the jurors and Michael Victorian in his opening and closing statements called Plaintiff

lawsuit a ‘hustle” and by inference Plaintiff and her lawyers hustlers with the intent to inflame

the racial bias of the jurors which was a plain error.

         For all the reasons outlined in Plaintiff accompanying Memorandum, Plaintiff

respectfully requests that this Court grant her Renewed Judgment as a Matter of Law, or in the

alternative, a New Trial.

         Respectfully submitted this 17th day of January 2024.




                                                   1
        Case 3:21-cv-00198-SM-RLB          Document 555       01/17/24 Page 2 of 2




                                                   Respectfully submitted:

                                                   /s/ Larry English
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                                                  ATTORNEYS FOR PLAINTIFF




                              CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of the foregoing was served on all counsel of record

using the Court’s CM/ECF system on January 17, 2024.


                                                   /s/ Larry English




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